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UNTI'ED STA'I'ES OF AME,RICA ) I_ILE_W
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v. )cAsENo. \S~cr- La"IFi-Ol [M/’<Q
)
) Violation:
ANDREW GUGLIELMO, ) Conspiracy 18 U.S.C. § 371
RICHARD GUGLIELMO, Jr., &. )
HA.MDI LATIF )
)

'I'he Assistant Attomey General for the Environment and Natural Resources Division of
the United States Departmcnt of Iustice charges that, at all times relevant to this information, in
the District of New Jersey:

lotroduction

i. Flexabar Corporation (“Flexabar") was a New Jerscy corporation located in
Lakewood, New Jersey. Flexabar produced paints and coatings for a variety of commercial uses
including for fishing and aquaculture applications Among those were paints containing
pesticides that inhibit the growth of seaweed, algae, barnacles, molluska, and other nuisance
organisms on surfaces submerged in water. Such coatings are referred to as antifouling paints.
All pesticides produced or distributed in the United States are regulated by the United States

Environmental Protection Agency ("EPA”) as described below.

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The Federal Pesticide Control Law

2. 'I`lie manufacture, distribution, and use of pesticides is regulated by the Federal
lnsecticide, Fungicide, and Rodenticide Act (“FIFRA"), Titlc 7, United States Code (“U.S.C."),
Sections 136, et seq., and the regulations promulgated under its authority by the EPA.

3. The term “pesticide” is defined in FIFRA as any substance or mixture of
substances intended for preventing, destroying, repelling, or mitigating any pest. 7 U.S.C. §
136(u).

4. Under FIFRA, no person may distribute or sell any pesticide in the United States
without its first being registered with EPA. Before registering a pesticide, EPA requires that it
be tested in order to determine its impact upon human health and the environment and in order to
develop specific distinctions and restrictions for its safe and effective use. These instructions,
restrictions, and warnings must be clearly stated on a pcsticide’s label and affixed to every
container of the pesticide that is distributed or sold. Pesticide producers are required to maintain
records demonstrating EPA’s registration of the products they manufacture and distribute 7
U.S.C. §§ 136a, 136f.

5. FI.`FRA prohibits the sale or distribution of any pesticide that is not registered by
EPA, that bears false claims or claims inconsistent with the terms of its registration, or that is
adulterated or misbranded. 7 U.S.C. § i36j(a)(l)(A).

6. A pesticide is defined to be adulterated if any substance has been substituted
wholly or in part for the pesticide identified on the product’s registration 7 U.S.C. § l36(c).

7. A pesticide is defined to be misbranded if its label bears any statement that is
false or misleading or if the label does not contain a warning or direction or restriction for its use
that is required by EPA in its registration of the product or in any subsequent EPA order

amending that registration 7 U.S.C. § l36q.

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8. FIFRA prohibits the use of any registered pesticide in a manner inconsistent with
its labeling as prescribed under the terms of its registration. 7 U.S.C. § l36j(a)(2)(G).

9. Under FIFRA it is unlawfiil for any person knowingly to falsify, among other
things, all or part of any application for pesticide registration, any information submitted to EPA
pursuant to FIFRA section l36e (registration requirements for pesticide manufacturers), any
records required to be maintained pursuant to FIFRA, or any report filed under the stattrte. 7
U.S.C. § 136j(a)(2)(M).

Factual Background
A. ne Pesticide Dibutyltin

10. Tributyltin or “TBT” is a class of organotiii compounds that prevents the growth
of seaweed, barnacles, and other marine organisms on submerged surfaces. In the 19603, TBT
became an ingredient in water resistant paint marketed as an antifouling coating. By the 19703,
TBT antifouling paints were widely used in the shipping and fishing industries. However, these
coatings leach their active ingredient into sea water. Researchers began to find high
concentrations of TBT in marinas, ports, harbors, and the open ocean. Scientiiic studies showed
TBT to be extremely harmful to marine life, causing shell deformation, reproductive aberrations
and endocrine disruption TBT bio-accumulates iii exposed organisms and concentrates in
predator species including marine mammals.

il. On June 16, 1988, Congrcss passed The Organotin Aiitifouling Paint Controi
Act of 1988 (Pub. L. 100-333) stating, “Laboratory and field studies show that organotin is very
toxic to marine and freshwater organisms at very low levels.” The law placed restrictions on the
sale and use of TBT antifouling paints and mandated iiirther study to enable EPA to develop

additional TBT regulations

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B. F!exabar’s Pestlcide Products

12. In 1982, Flexabar obtained EPA registrations for two products in which tlie sole
active ingredient was the pesticide tributyltin: Fiextin Wood Treatment Concentrate (EPA
Registration No.: 9339-12) (“Flextin”) and Flexgard Waterbase Preservative (EPA Registration
No.: 9339-14) (“Flexgard”). At tlie time of their registration, Flexabar did not identify either
product as a marine antifoulant, nor did EPA approve them for use as such.

13. However, ii'om the time of their registration in 1982 until in or about 2015, about
thirty-three years, Flexabar sold these coatings primarily to the fishing industry as marine
antifoulants to prevent the growth of seaweed, barnacles, and other nuisance organisms on crab
traps and other marine equipment

14. In December 2002, Flexabar obtained an EPA registration for the antifouling
paint F|exgard II Waterbase Wire Trap/Crab Pot Antifouling Paint (EPA Reg. No.: 9339-21)
(“Flexgard Il"). Flexabar initially proposed that it contain two active ingredients, TBT and
cuprous oxide. However, because of TBT’s toxicity to marine life, EPA approved tlie product on
condition that l-`lexabar would remove TBT from the formulation and Flexgard II’s sole active
ingredient would be cuprous oxide. Flexabar agreed and revised the registered product
formulation accordingly to eliminate TBT from Flexgard II.

C. Hexabar’s Regulatary H£rtoiy

15. To prevent the toxic impact on marine life from the misuse of TBT, in 1991, EPA

sought to reinforce its limitations on the use of Flexabar’s TBT products. Since Flexgard was

never approved for use as an antifoulant, EPA directed Flexabar to clarify the intended uses on

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its label to ensure that treated items were not placed in water. EPA explicitly limited F|exgard to
use as a wood preservative and as a mold and mildew retardant on ropes and netting not
submerged in water. In a May 8, 1991 letter to Flexabar', EPA notified the company that it was
required to modify its label “[t]o assure that the product is not used as an anti-fouling treatment
on surfaces in contact with the water.” ln a May 24, 1991 letter to EPA, Flexabar agreed to
change the labels of its TBT-based products as directed.

16. ln a March 7, 1996 letter, EPA notified Flexabar that it was aware that the
company had failed to make the label changes it had agreed to almost five years earlier. In
addition to clarifying the non-marine uses of Flexgard, EPA again directed Flexabar to state on
its Flexgard label that its use on surfaces below the waterline including crab, lobster, and bass
pots was prohibited.

17. Following a series of communications with Flexabar in which the company
condoned to evade the restrictions EPA required, in a December 20, 1996 letter, EPA warned
Flexabar that its labels for TBT-based products “contain unacceptable use(s). 'I'his includes any
application to wood surfaces ...in contact with water such as pilings or crab, lobster or bass pots,
or on boat surfaces below the water line. Such uses appear on the labeling of the above products
and must be deleted.”

18. In October 1997, Flexabar received a fax from one of its distributors which
included a stop sale order from Virginia's Department of Agriculture stating that Flexabar’s
Flexgard product could not be used as a marine antifou|ant, it “rriust not be recommended for use
(application) on crabpots or other sites not listed on the pesticide label.”

19. ln a January 4, 2002 letter sent to all registrants of pesticides containing ’I`BT,

EPA notified Flexabar of the anticipated international prohibition of the use of TBT on ship hulls

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because of its toxicity to marine life. fire Intematr'onal Maritr'me Convenri'on on the Controi of
Harmjizl An!r‘-Fouling .S))stems on Shi'ps, London, October 5, 2001. EPA stated that it expected
to cancel all TBT-based pesticide products to eliminate them from the market by the following
year, January 2003. It urged all TBT registrants to reduce TBT purchases and TBT pesticide
production in order to meet the anticipated ban.

20. ln a March 28, 2002 email to Flexiibar, EPA continued the agreement it reached
with Flexabar that the company would include on its Flextin and Flexgard labels the warning,
“This product is not to be used as antifouling on ships, boats, wood pilings, or crab, lobster, or
bass pots.”

21. Flexabar maintained its registrations for its TBT products by continuing to
misrepresent to EPA that they were being marketed as wood preservatives and mildew
preventatives on surfaces not in contact with water. On January 19, 2006, EPA issued another
label for Flextin containing the following language: “This product is not to be used as antifouling
on ships, boats, wood pilings, OR crab, lobster, or bass pots and traps.” In spite ofthis, Flexabar
condoned to sell its TBT-based products to the fishing industry for prohibited marine uses.

22. On February 6, 2013, EPA issued a Federal Register Notice that officially
canceled the FIFR.A registrations for Flexabar’s two TBT products, Flextin and Flexgard. The
cancellation provided that Flexabar could not manufacture any more of these pesticides but could
continue to sell and distribute existing stocks of the products for one year, until February 6,

2014. This was fully explained to Defendants ANDREW GUGLIELMO and HAMDI LAT[F by
a pesticide expert with whom the company consulted. Those defendants communicated these
restrictions on the manufacture and sale of Flexabar‘s TBT products to Defendant RlCHARD

GUGL[ELMO, .lr. and another Plexabar official.

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23. In a February 26, 2014 email to Flexabar management, an employee reported a
news article about the indictment of a Florida company and its managers for the continued
production and sale of antifouling paint containing TBT past the date allowed in EPA’s
cancellation order. The news article described the federal criminal charges that resulted from the
Florida company’s deception of EPA to conceal its violations of agency orders to stop producing
and selling antifouling paints containing TBT.

COUNT l
Conspii~acy to Defraud the United States and to Violate Federal Pesticide Controi Laws
18 U.S.C. § 371

Defendants
24. ln or about 2012, Defendant ANDREW GUGLIELMO became the Chief

Executive and Chief Financial Ofi`icer of Flexabar, and was involved in the regular conduct of
the company’s business. He has been employed at Flexabai' since 1985 in a variety of
operational and managerial roles.

25. In or about 2007, Defendant RICHARD GUGLIELMO, Jr. became President of
Flexabar and was involved in the regular conduct of the company’s business I-le has been
employed at Flexabar since 1971 in a variety of operational and managerial roles.

26. Defendant I-IAMDI LATIF was the Technical Director of Flexabar responsible for
the formulation of the company’s products and for assuring compliance with the regulations
governing the manufacture, sale, and labeling of the pesticides it produced. He has been
employed at Flexabar since 1976.

The Conspiracy

27. Beginning at a time unknown to the government but no later than in or about

June 2008 and continuing thereafter until in or about January 2016, in the District of New Jersey,

and elsewhere, Defendants ANDR.E.W GUGLIELMO, R.ICHARD GUGLIELMO, Jr., HAMDI

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LATIF, and others known and unknown to the government did knowingly and willfully
combine, conspire, and agree to commit the following offenses against the United States and the
laws thereof:
(i) To defraud the United States by hindering, impeding, and obstructing, by deceit and
dishonest means, the lawful hinctions of EPA, an agency of the United States, to
implement and enforce FIFRA, Title 7, U.S.C. § 136, et seq., and the regulations
promulgated under its authority, in violation of Title 18, U.S.C. § 371 and;
(ii) To commit violations of FIFRA, Title 7, U.S.C. § 136, et seq., including but not limited
to: (a) manufacturing and selling products containing the regulated pesticide TBT for
purposes prohibited by EPA, (b) manufacturing and selling adulterated and misbranded TBT
pesticides, failing to place on the product labels the use restrictions ordered by EPA, (c)
violating a cancellation order by continuing to import TBT for the manufacture and sale of
an unregistered pesticide, (d) selling an unregistered pesticide, and (e) providing false
information to EPA regarding the manufactiire, sale, and use of Flexabar’s TBT products.
Purpose of the Conspiracy
28. lt was the objective and purpose of Defendants ANDREW GUGLIELMO,
RICHARD GUGLIELMO, Jr., HAMDI LATIF, and their co-conspirators iri formulating,
developing, and implementing this conspiracy to profit from the manufacture and sale of TBT-
based pesticides by evading the use restrictions and labeling requirements mandated by EPA and

by continuing to produce and sell these pesticides past the dates at which these activities were

required by law to cease.

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Means and Metliods of the Conspiracy

29. To carry out the conspiracy and effect its unlawful objects, Defendants ANDREW
GUGLI.ELMO, RICHARD GUGLIELMO, Jr., l-IAMDI LATIF and their co-conspirators
engaged in conduct including but not limited to the following:

a. For decades, concealing from EPA that they were manufacturing and marketing
Flexabar products containing TBT to the fishing industry for their illegal use as antifoulants on
crab and lobster traps and other fishing gear;

b. Falsely telling EPA that they would comply with EPA directives to include on the
labels of Flexabar’s TBT products instructions that they could not be used on surfaces
submerged in water but, for years, failing to do so;

c. Marketing Flexabar‘s regulated pesticides to the crabbing industry precisely for the
purposes that EPA had forbidden even alter they complied with EPA’s labeling requirements;

d. Attempting to purchase and purchasing TBT from suppliers even after February 6,
2013, when EPA cancelled the registration of Flexabar’s TBT-containing products and
prohibited the import of TBT for use as a pesticide;

e. Making false statements about the intended use of the TBT they sought to purchase in
an eH`ort to evade laws prohibiting Flexabar’s importation and use of TBT as a pesticide;

f. Continuing to manufacture pesticides containing TBT alter February 6, 2013, when the
manufacture of pesticide products containing TBT was prohibited;

g. Selling pesticides containing TBT illegally manufactured alter February 6, 2013, when
the sale of these pesticides was prohibited.

h. Producing and selling an unregistered pesticide, by surreptitiously adding the banned

toxin, TBT to the formula of Flexgard lI.

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Overt Acts

30. In furtherance of the conspiracy and in order to achieve the objects thereof,
defendants committed the following acts:

Overt Act l: For many years and continuing as late as May 2015, Defendants
ANDREW GUGLIELMO, RICHARD GUGLIELMO, Jr., and others distributed an
advertisement at watermen trade shows and through other means to crab fishermen and their
suppliers recommending Flexabar’s TBT-based products for use as a “Crab Pot Dip” to prevent
the growth of marine organisms on fishing gear, an unapproved use of TBT-based products that
EPA specifically prohibited in a May 8, 1991 letter to Flexabar,

Overt Act 2: In a June 6, 2008 response to an EPA inquiry as to the uses for which
Flexabar’s TBT based Flexgard was being sold, Defendant HAMDI LATIF, knowing the fishing
industry to be Flexabar’s primary market, falsely claimed, “Use of this product for nylon
webbing for these purposes [golf driving ranges and baseball betting cages] continues to be a
major use for this product, for which registration should continue.” Defendant HAMDI LATIF
sent a copy of this letter to Defendants ANDR.EW GUGLI.ELMO, RICHARD GUGLIELMO,
Jr., and others at Flexabar.

Overt Act 3: In order to import TBT through U.S. Customs and to avoid having to
report it to EPA, Defendant ANDREW GUGLIELMO, in a January 31, 2013 email to a chemical
supplier, stated the “TBTO [TB’I] is used to manufacturer (sic) our end use product used as a
wood preservative.”

Overt Act 4: A February 20, 2013 email sent by a Flexabar employee at the direction of
Defendant ANDREW GUGLIELMO asked a TBT supplier to backdate Flexabar’s TBT order to

February l, 2013, a date prior to EPA’s cancellation of the pesticide,

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Overt Act 5: In order to import TBT through U.S. Customs and avoid having to report it
to EPA, on or about July 17, 2013, with the knowledge and approval of other co-conspirators,
Defendant RICHARD GUGLIELMO, Jr. sent a letter to the supplier falsely stating, “the end use
of this raw material [TBT] is used as a heat stabilizer in the production of PV .”

Overt Act 6: In or about March 2014, a co-conspirator sold Flexgard to a fishing
industry distributor bearing labels that did not contain the restriction EPA had required
prohibiting its use on crab pots and other fishing gear.

Overt Act 7: Defendant HA.MDI LATII~` signed and submitted to EPA a January 20,
2015 “Coniidential Statement of Formula” for Flexgard H that reported its only pesticide
ingredient to be EPA-approved cuprous oxide but concealed by omission Flexabar’s illegal
addition of TBT to Flexgard II throughout 2014.

Overt Act 8: Over two years alter EPA had prohibited the manufacture of any pesticide
containing TBT, on or about June 8, 20[5, in recipe instructions called “batch tickets,”
Defendant HAMDI LATIF directed Flexabar's production staE to include TBT as an ingredient
in the formulation of Flexgard II.

Overt Act 9: In January 7, 2016 interviews with federal agents, Defendants ANDR.EW
GUGLIELMO, RICl-IARD GUGLIELMO, Jr., and HAMDI LATIF falsely stated that Flexabar‘
had not ordered any TBT after EPA cancelled its registration on February 6, 2013, and that
Flexabar' had stopped using TBT in any of its products years earlier.

In violation of Title 18, United States Code Section 371.

JEFFREY H. WOOD
Acting Assistant Attomey Gencral
Environment and Natural Resources Division

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By:

By:

   

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Senior Trial Attomey

idam Cullmal'r/
Trial Attorney
Environmental Crimes Section

